     Case 3:20-cv-00037-RWT Document 2 Filed 03/05/20 Page 1 of 4 PageID #: 2




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF WEST VIRGINIA

In re:

PANTHERA ENTERRISES, LLC,
Debtor.                                                      [Case No. 2:19-bk-787]

PANTHERA ENTERPRISES, LLC,

                Plaintiff,
v.                                            [Adversary Proceeding No. 2:19-ap-51]

                                              CIVIL ACTION NO. 3:20CV37

PANTHERA TRAINING, LLC,

                Defendant.



                             ORDER SCHEDULING MEDIATION

         Pursuant to Judge Flatley's Order Scheduling Mediation, it is ORDERED that this

matter be, and the same is hereby, scheduled for mediation on MONDAY, MARCH 30,

2020, AT 9:30 A.M. at the W. Craig Broadwater Federal Building and U.S. Courthouse,

First Floor Courtroom, 217 West King Street, Martinsburg, West Virginia 25401 before

United States Magistrate Judge Robert W. Trumble. The parties AND their

representatives, fully authorized to make final and binding decisions on behalf of the

principals MUST BE PRESENT IN PERSON. AFull settlement authority@ means:

         (a) for a defendant, the representative must have final authority, in the
         representative=s own discretion, to pay a settlement amount up to plaintiff=s
         last demand; (b) for a plaintiff, such representative must have final authority,
         in the representative=s own discretion to accept a settlement amount down
         to defendant=s last offer; (c) for a client which is controlled by a group, like a
         board of directors or a claims committee, the representative must have the
         authority to settle for the group as described above; (d) for an insurance
         company with a defense or indemnity obligation, the representative must
         have final authority to commit the company to pay, in the representative=s
  Case 3:20-cv-00037-RWT Document 2 Filed 03/05/20 Page 2 of 4 PageID #: 3




       own discretion, an amount up to the plaintiff=s last demand if within policy
       limits, or if not within policy limits, the limits of the policy, whichever is lower;
       (e) for an insurance company, with a subrogation interest in the recovery of
       a party, the representative must have final settlement authority to commit
       the company to settle. Counsel MAY NOT, except in extraordinary
       circumstances and with prior approval of the Court, serve as such
       representatives. Such prior approval must be requested, by written
       motion, within ten (10) days from the date of the entry of this order. Failure
       to appear with persons authorized to make final and binding decisions as
       set forth above will result in the issuance of a show cause order for
       sanctions.

       All counsel and parties shall be prepared to negotiate openly and knowledgeably

concerning the issues of the civil action in a mutual effort to reach a fair and reasonable

settlement. Failure of any party or counsel to participate in good faith will be immediately

brought to the attention of the presiding judge, who will be available during the mediation

of this civil action. See Fed. R. Civ. P. 16(f).

       If any party has a conflict with the scheduled mediation and desires to have the

mediation rescheduled, that party must file a motion with the court indicating the nature of

the conflict. Moreover, that party should, prior to the filing of such motion, consult with

the other parties to the civil action and present the court, with the motion, a list of three

suggested dates for rescheduling the mediation, which dates shall be as close to the date

of the scheduled mediation as is possible. See LR Gen P 88.02.

       At least five days prior to the scheduled mediation, counsel for each party

shall submit a written factual presentation, not to exceed five pages, with any

pertinent supporting documents, other than the pleadings, attached. The mediation

statements SHALL BE submitted directly to the Magistrate Judge by email to the

following address: mjrwtrumble@wvnd.uscourts.gov. The subject line of the email shall

read “CONFIDENTIAL”. The mediation statements will be shredded at the conclusion of

                                                2
  Case 3:20-cv-00037-RWT Document 2 Filed 03/05/20 Page 3 of 4 PageID #: 4




the mediation and are not to be filed with the clerk. Unless authorized by a party, the

Magistrate Judge shall treat the mediation statements as confidential. In their discretion,

the parties may serve opposing counsel with their mediation statements.

       Plaintiff(s) shall make a written demand to the Defendant(s) ten (10) days

prior to the scheduled mediation. Defendant(s) shall respond in writing to the

demand not less than two (2) days prior to the scheduled mediation. The

Magistrate Judge shall be copied with the demand and response prior to the

mediation.

       Settlement discussions will be off the record, subject to Federal Rule of Evidence

408, and held in strictest confidence. As mediator, I will not disclose any of the

information divulged by any of the parties or counsel during the settlement discussions

unless specifically authorized to do so by that party or counsel. See Fiberglass

Insulators, Inc. v. Dupuy, 856 F.2d 652 (4th Cir. 1988); see also Local Court Rule Article

5, LR Civ P 16.06.

       IT IS SO ORDERED.

       The Clerk of the Court is directed to provide a copy of this Order to parties who

appear pro se and all counsel of record, as applicable, as provided in the Administrative




                                             3
  Case 3:20-cv-00037-RWT Document 2 Filed 03/05/20 Page 4 of 4 PageID #: 5




Procedures for Electronic Case Filing in the United States District Court for the Northern

District of West Virginia.

       DATED: 3-5-2020




                                            4
